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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

    In re:                                       )
                                                 )
    ROBERT EDWARD HAMMETT                        )
    SSN: XXX-XX-2842                             )
                                                 )
                                                 )      CASE NO. 17-15507-KHT
    SUZANNE ANDREA HAMMETT                       )
    SSN: XXX-XX-2514                             )      CHAPTER 7
                                                 )
    Debtor(s).                                   )


                   ORDER APPROVING SETTLEMENT AGREEMENT


          THIS MATTER comes before the Court upon the Chapter 7 Trustee’s Motion to
    Approve Settlement Agreement (“the Motion”).

           THE COURT, having reviewed the Motion and otherwise being fully advised in
    the premises, FINDS that the proposed settlement agreement is in the best interests of the
    bankruptcy estate for the reasons stated in the Motion.

           IT IS accordingly ORDERED that the proposed SETTLEMENT AGREEMENT
    be and hereby is APPROVED and Debtors shall abide by its terms.


    Dated                                 .

                                                 BY THE COURT:



                                                 United States Bankruptcy Judge
                                                 Hon. Kimberley H. Tyson
